Case 0474608 Hakim v. Mukasey is now before the court. Mr. Inkelis, or how do we say your name? Inkelis. We did receive a motion to dismiss in this case, but we didn't ever get anything from the government. The motion was unopposed by the government. So the government stipulated to it? That's correct, Your Honor. We received notice a week ago that this case had been reopened before the board a year ago. We had not received notice and we came to realize that. Petitioner then filed a motion to dismiss that case before this court with prejudice because there's nothing before this court anymore as the order is no longer final. That doesn't mean that in the new proceeding, whatever happens, there could be an appeal from that. Is that correct? Could you please repeat that, Your Honor? Pardon? Could you please repeat that? If he's now into some new proceedings. That's correct. And he could appeal an adverse credibility or whatever from that. Is that not correct? Yes. What I'm worried about is when we say with prejudice, it doesn't with prejudice to ever coming before us again. It's not coming before this court again. No, that's correct. The appeal that was before this court has been dismissed with prejudice. That particular appeal cannot come back. Well, it will be dismissed with prejudice if we do it. Correct. I don't mean to jump the gun, Your Honor. The reason that we wanted to question you about this is that we have nothing in our record to suggest the government agreed to that. The motion that we consented to said that we didn't have any consent in our record. All we had was a motion for dismissal with prejudice based on the fact that the case had been reopened elsewhere. That's why we wanted to put you on the record today. You are consenting and we can dismiss with prejudice. And that does not in any way affect whatever appeal he might raise in his motion to reopen. That's correct, Your Honor. The reason why that was supposed to be in the motion that we consented to, I have been traveling and I have not received the copy of the actual motion that was filed. Thank you very much. Thank you, Your Honor. That's all we needed to do. Get that in the record. All right. So, Hakeem v. Mukasey, 0474608 is now submitted.